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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,              CR 24-06-GF-BMM

           Plaintiff,                   AMENDED INFORMATION

     vs.                                CONSPIRACY
                                        Title 18 U.S.C. § 371 (Count 1)
 ARTHUR “JACK” SCHUBARTH,               (Penalty: Five years of imprisonment, a
                                        $250,000 fine or twice the gross gain or
           Defendant.                   loss, and three years of supervised
                                        release)
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                                             LACEY ACT TRAFFICKING
                                             Title 16 U.S.C. § 3372(a)(2)(A) and
                                             § 3373(d)(1)(B) (Count 2)
                                             (Penalty: Five years of imprisonment, a
                                             $250,000 fine or twice the gross gain or
                                             loss, and three years of supervised
                                             release)

THE ASSISTANT ATTORNEY GENERAL OF THE ENVIRONMENT AND
NATURAL RESOURCES DIVISON OF THE UNITED STATES DEPARTMENT
OF JUSTICE AND THE UNITED STATES ATTORNEY FOR THE DISTRICT
OF MONTANA CHARGE:

At all times material to this Amended Information:

                               INTRODUCTION

      1.    The defendant, ARTHUR “JACK” SCHUBARTH, resided in the

District of Montana and was the owner and operator of an alternative livestock

facility in Montana, also known as a game farm, operating under the name “Sun

River Enterprises, LLC” (hereinafter the “Schubarth Ranch”). The business

engaged in the purchase, sale, and breeding of mountain sheep, mountain goats,

and other ungulates with a primary purpose of marketing and selling live animals

and genetic material (e.g., semen) to captive hunting operations, also known as

game ranches or shooting preserves.

      2.    The Schubarth Ranch comprised of 215 acres, which included

defendant SCHUBARTH’s residence and various outbuildings. It was located on

the Fairfield Bench, a high elevation prairie grassland extending eastward from the
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Rocky Mountains, and was bordered by state, private, and federal lands. The

geographic area includes National Forests and the Bob Marshall Wilderness

Complex. A variety of wildlife species are native to the geographic area, including

Rocky Mountain Big Horn Sheep.

      3.     Person A was a resident of Montana and was involved in the

alternative livestock industry.

      4.     Person B was a resident of Texas and was involved in alternative

livestock husbandry and commercial sales of livestock.

      5.     Person C was a resident of Minnesota and was involved in alternative

livestock husbandry and commercial sales of livestock.

      6.     Person D was a resident of Texas and was involved in alternative

livestock husbandry and commercial sales of livestock.

      7.     Person E was a resident of Texas and was involved in alternative

livestock husbandry and commercial sales of livestock.

                                  BACKGROUND

      8.     Marco Polo argali sheep (Ovis ammon polii) are a species of sheep

that live in high elevations of the Pamir Mountains region that spans Afghanistan,

Pakistan, Kyrgyzstan, Tajikistan, and China. Argali sheep are listed as Threatened

under the U.S. Endangered Species Act and are internationally protected under

Appendix II of the Convention on International Trade in Endangered Species of
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Wild Fauna and Flora (hereinafter “CITES”).

      9.      Despite local and international protections, argali sheep are trophy

hunted due to their large size and unique long spiraling horns. Argali sheep are

believed to be the largest species of sheep in the world, regularly weighing more

than 300 pounds. Argali horns are the largest of any wild sheep.

      10.     Marco Polo argali are most commonly hunted for sport in Tajikistan,

Mongolia, and Kyrgyzstan. All imports into the United States of argali trophies,

parts, products, and specimens are tightly regulated, and require a CITES export

permit from the country in which it was harvested in addition to a permit from the

United States Fish and Wildlife Service (“USFWS”) for import, possession, and

other uses.

      11.     Rocky Mountain Bighorn Sheep (Ovis canadensis) is the largest

species of wild sheep native to North America. Argali sheep can be roughly twice

the size of Rocky Mountain Bighorn Sheep.

      12.     Cloning is the process of making a genetically identical copy of a cell

or organism. In cloning animals, the donor animal’s somatic cell, such as skin or

tissue, provides DNA, the genetic information. That DNA is then transferred into

an egg cell, or oocyte, that has had its own DNA-containing nucleus removed.

That egg is then allowed to develop into an early-stage embryo, which is implanted

into the womb of an adult female or surrogate female animal. If successful, the
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adult female would give birth to an animal that has the same genetic make-up as

the animal that donated the somatic cell. That young animal is referred to as a

clone. Cloning may have adverse effects by reducing a population’s genetic

variability as well as impacts on wild and domestic populations.

      13.    Sheep with large bodies and large horns are more valuable to hunters

in captive hunting facilities and in the wild. For example, a bighorn ram lamb

produced from a ram known to have especially large horns could be sold for a

higher price as a breeder animal or as a “shooter” animal to a shooting preserve.

One purpose of crossbreeding and hybridization of sheep is to enhance the

desirable traits in offspring, such as body and horn size, thereby increasing the

value of the animal.

                RELEVANT STATUTES AND REGULATIONS

      14.    The Lacey Act, Title 16, United States Code, Section 3371 et seq.,

makes it unlawful for any person to knowingly transport, sell, receive, acquire, or

purchase, in interstate commerce, any wildlife, when the person knew that said

wildlife was taken, possessed, transported, or sold in violation of federal laws or

regulations. 16 U.S.C. § 3372(a)(1) and § 3373(d).

      15.    The Lacey Act also prohibits any person from making or submitting

any false record, account, label for or identification of wildlife that had been or

was intended to be transported in interstate or foreign commerce. 16 U.S.C. §
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3372(d) and § 3373(d)(3)(A)(ii).

      16.    Under CITES, species are protected according to a classification

system known as “appendices.” Appendix II of CITES consists of the species that

may become threatened by extinction if trade in the species is not regulated.

International trade in species listed in these appendices is monitored and regulated

by permits and quotas.

      17.    In the United States, CITES is implemented through the Endangered

Species Act (“ESA”), 16 U.S.C. § 1531 et seq. The ESA and its implementing

regulations make it unlawful for anyone to engage in trade in any specimens

contrary to CITES or to possess any specimens traded contrary to CITES. 16

U.S.C. § 1538(c)(1).

      18.    The ESA independently lists animals as both endangered and

threatened, and prohibits the import, export, transport, receipt, sale, and offer of

sale, in interstate and foreign commerce, of species listed as endangered or

threatened. 16 U.S.C. § 1538(a)(1).

      19.    The Marco Polo argali sheep was listed on CITES Appendix II in

1975 and was listed as threatened under the ESA in 1992, 50 C.F.R. §17.11(h).

      20.    In order to protect Montana's native wildlife and plant species,

livestock, horticultural, forestry, and agricultural production, and human health and

safety, Montana has deemed it necessary to prohibit certain exotic species from
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being imported, possessed, or sold in Montana. Mont. Code Ann. § 87-5-705.

       21.      Montana’s list of prohibited exotic wildlife includes:

             • Argali sheep (Ovis amon), Mont. Admin. R. 12.6.2215(4);

             • Transcaspian urial sheep (Ovis aries vignei), Mont. Admin. R.
               12.6.2215(4); and

             • mouflon sheep (Ovis aries musimon), Mont. Admin. R. 12.6.1540.

       22.      A person may not purposely or knowingly sell, purchase, or exchange

all or part of any game fish, bird, game animal, or fur-bearing animal in Montana

except as provided by law. Mont. Code Ann. § 87-6-206.

       23.      A person may not capture, take, or otherwise acquire any game animal

in Montana for use on an alternative livestock ranch. Mont. Code Ann. § 87-4-418.

                                        COUNT 1

       24.      Paragraphs 1 through 23 of this Information are incorporated herein

by reference as if set forth in their entirety.

                                  THE CONSPIRACY

       25.      Beginning on a date no later than January 25, 2013, and continuing

through at least October 2022, in the District of Montana, and elsewhere, the

defendant, ARTHUR “JACK” SCHUBARTH, knowingly combined, conspired,

confederated, and agreed with others known and unknown , to commit offenses

against the United States, that is:
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a. To knowingly engage in conduct that involved the sale and purchase of,

   the offer of sale and purchase of, and the intent to sell and purchase

   wildlife, specifically argali sheep, with a market value in excess of $350,

   and to knowingly transport, sell, receive, acquire, and purchase said

   sheep in interstate commerce, knowing that the wildlife was taken,

   possessed, transported and sold in violation of and in a manner unlawful

   under the laws and regulations of the United States, specifically the

   Endangered Species Act (16 U.S.C. § 1538(a)(1)(A)), in violation 16,

   U.S.C. §§ 3372(a)(1) and 3373(d)(l)(B);

b. To knowingly engage in conduct that involved the sale and purchase of,

   the offer of sale and purchase of, and the intent to sell and purchase

   wildlife, specifically argali sheep, with a market value in excess of $350,

   and to knowingly transport, sell, receive, acquire, and purchase said

   sheep in interstate commerce, knowing that the wildlife was taken,

   possessed, and transported in violation of and in a manner unlawful under

   the laws of Montana, specifically Mont. Code Ann. § 87-5-705, in

   violation of 16 U.S.C. §§ 3372(a)(2)(A) and 3373(d)(l)(B); and,

c. To knowingly engage in conduct involving the sale and purchase of, offer

   to sell and purchase, and commission of an act with intent to sell and

   purchase wildlife, specifically argali sheep, with a market value greater
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            than $350, and to knowingly make, and cause to be made, a false record,

            account, label, and identification of the argali sheep, which had been and

            were intended to be transported in interstate commerce in violation of 16

            U.S.C. §§ 3372(d)(2) and 3373(d)(3)(A)(ii), and 18 U.S.C § 2.

                  MANNER AND MEANS OF THE CONSPIRACY

      26.      The manner and means by which SCHUBARTH and his co-

conspirators sought to accomplish the objects and purposes of the conspiracy

included, among others, the following:

      a. SCHUBARTH engaged a third party to create a cloned argali sheep

            from argali parts hunted in the wild in Kyrgyzstan and maintained the

            genetic line at the third-party facility.

      b. SCHUBARTH and co-conspirators would perform laparoscopic

            artificial insemination (“LAP-AI”) and other forms of artificial breeding

            to create larger and more valuable lines of argali sheep. The procedures

            were conducted on the Schubarth Ranch and elsewhere.

      c. SCHUBARTH and co-conspirators used electronic communications,

            including but not limited to Facebook, email, and text messages, to

            coordinate the sale and terms of transactions in wildlife, wildlife parts,

            and offspring; arrange for transport of wildlife in interstate commerce;
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            and discuss false documentation to hide the proper identification of

            prohibited wildlife.

                                    OVERT ACTS

      27.      In furtherance of the conspiracy and in order to effect the objects

thereof, SCHUBARTH and his co-conspirators committed the following overt

acts, among others, in the District of Montana and elsewhere:

            a. Overt Act 1: On or about January 25, 2013, Person A entered the

               United States with biological tissue from a Marco Polo argali sheep

               that had been hunted in Kyrgyzstan. Person A did not declare the

               animal parts upon entry.

            b. Overt Act 2: On or about January 31, 2013, SCHUBARTH entered

               into a “Cell Storage Agreement” with a corporation for storage and

               preservation of the above-referenced tissue from a male “Marco Polo”

               sheep named “Rocky.”

            c. Overt Act 3: On or about October 6, 2015, SCHUBARTH entered

               into an “Ovine Cloning Contract” to clone an unspecified number of

               Marco Polo sheep from the tissue. SCHUBARTH provided a deposit

               of $4,200 for the cloning.

            d. Overt Act 4: On or about November 22, 2016, SCHUBARTH

               received 165 cloned Marco Polo embryos at the Schubarth Ranch.
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  e. Overt Act 5: On or about May 15, 2017, a pure Marco Polo argali

     sheep male was born from the cloned embryos, which SCHUBARTH

     named Montana Mountain King (“MMK”).

  f. Overt Act 6: Starting in 2018 at the latest, SCHUBARTH harvested

     semen from MMK in order to inseminate ewes via LAP-AI to create

     Marco Polo argali hybrid offspring.

  g. Overt Act 7: On or about October 16, 2018, SCHUBARTH shipped

     twenty straws of MMK semen from Montana to Person B in Texas.

  h. Overt Act 8: On or about November 15, 2018, Person C transported

     twenty-six prohibited species of sheep from Minnesota to Schubarth

     Ranch to be artificially inseminated with MMK semen.

  i. Overt Act 9: On or about November 18, 2018, Person C issued

     SCHUBARTH a $600 check for LAP-AI to be performed on his

     sheep using MMK semen.

  j. Overt Act 10: On or about November 21, 2018, Person C transported

     fifteen prohibited species of sheep artificially inseminated with MMK

     semen from Schubarth Ranch to Minnesota.

  k. Overt Act 11: On or about May 4, 2019, Person A transported one

     MMK offspring sheep from Person C’s residence in Minnesota to

     Schubarth Ranch.
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  l. Overt Act 12: On or about November 5, 2019, SCHUBARTH

     shipped thirty-seven straws of MMK semen from Montana to Person

     B in Texas.

  m. Overt Act 13: On or about November 5, 2019, SCHUBARTH

     shipped twenty-three straws of MMK semen from Montana to Person

     D in Texas.

  n. Overt Act 14: On or about November 15, 2019, Person C transported

     forty-eight prohibited species of ewes from Minnesota to Schubarth

     Ranch to be artificially inseminated with MMK semen.

  o. Overt Act 15: On or about May 4, 2020, SCHUBARTH offered to

     sell an offspring of MMK, named “Montana Black Magic” or

     “MBM,” to Person D and Person E in Texas.

  p. Overt Act 16: On or about July 13, 2020, SCHUBARTH agreed to

     sell Person D and Person E eleven sheep containing 25% MMK

     genetics for $13,200 and MBM for $10,000.

  q. Overt Act 17: On or about July 15, 2020, Person E procured a Texas

     Animal Health Commission Certificate of Veterinary Inspection for

     the interstate export of forty-three sheep which were falsely declared

     as New Mexico Dahl Sheep.
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  r. Overt Act 18: On or about July 15, 2020, Person D and Person E

     transported forty-three falsely labeled sheep from Texas to Schubarth

     Ranch. The true species were prohibited in Montana.

  s. Overt Act 19: On or about July 17, 2020, Person E issued

     SCHUBARTH a $23,000 check to purchase twelve MMK offspring.

  t. Overt Act 20: On or about July 17, 2020, Person E procured a

     Montana Department of Livestock Certificate of Veterinary

     Inspection showing the transfer of MBM from SCHUBARTH in

     Montana to Person E in Texas. The Certificate identifies MBM as

     “Bighorn x”.

  u. Overt Act 21: On or about July 17, 2020, Person E procured a

     Montana Department of Livestock Certificate of Veterinary

     Inspection in order to transfer eleven MMK offspring to Texas. The

     Certificate falsely identified the sheep as “New Mexico Domestic

     sheep”.

  v. Overt Act 22: On or about July 17, 2020, Person D and Person E

     transported eleven falsely labeled sheep from Schubarth Ranch to

     Texas.

  w. Overt Act 23: On or about November 22, 2020, Person C transported

     at least two MMK offspring from Schubarth Ranch to Minnesota.
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            x. Overt Act 24: On or about February 1, 2021, SCHUBARTH sold

              two falsely labeled MMK offspring to Person C. The Department of

              Livestock Certificate of Veterinary Inspection falsely listed the lamb

              as a “New Mexico Domestic.”

            y. Overt Act 25: On or about February 22, 2021, SCHUBARTH and

              Person E discussed via electronic messages an appropriate name for

              the hybrid argali breed they were creating. Person E stated “[Person

              D] said Black Argali. He knows we can’t.”

      All in violation of Title 18 United States Code, Section 371.


                                     COUNT 2


      28.     Paragraphs 1 through 23 of this Indictment are incorporated herein by

reference.

      29.     On or about October 20, 2019, in the District of Montana and

elsewhere, the defendant, ARTHUR “JACK” SCHUBARTH, did himself

and through the actions of others, knowingly engage in conduct that involved

the sale and purchase of, the offer of sale and purchase of, and the intent to sell

and purchase wildlife, specifically bighorn sheep and parts thereof that had

been hunted and harvested in the wild in Montana, with a market value in

excess of $350, and did knowingly transport, sell, receive, acquire, and
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purchase said wildlife in interstate commerce, knowing that the wildlife was

taken, possessed, and transported in violation of and in a manner unlawful

under the laws and regulations of Montana, specifically Mont. Code Ann. §§

87-5-705 and 87-6-206.

      All in violation of Title 16, United States Code, Sections 3372(a)(2)(A)

and 3373(d)(l)(B).

    DATED this 11th day of March 2024.


   TODD KIM                                   JESSE A. LASLOVICH
   Assistant Attorney General                 United States Attorney
   Environment & Natural Resources Div.       District of Montana



By: ______________________                By: ______________________
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